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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


GLOBAL HEALTH COUNCIL, et al.,

                        Plaintiffs,

          v.                                                   Civil Action No. 1:25-cv-402

DONALD TRUMP, et al.,

                        Defendants.


                                      [PROPOSED] ORDER

         Upon consideration of Plaintiffs’ renewed motion to enforce, it is hereby

         ORDERED that within 48 hours of the entry of this Order, the Restrained Defendants

shall:

         Pay all invoices and Letter of Credit drawdown requests on contracts for work completed

prior to the entry of the Court’s TRO;

         Permit and promptly pay Letter of Credit drawdown requests and requests for

reimbursements on grants and assistance agreements;

         Take no actions to impede the prompt payment of appropriated foreign-assistance funds;

and

         Take all necessary actions to ensure the prompt payment of appropriated foreign-assistance

funds going forward. It is further

         ORDERED that the Restrained Defendants shall include in the joint status report due

Wednesday, February 26, 2025, information apprising the Court of the status of their compliance

with this Order.




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IT IS SO ORDERED.

                              ________________________________
                              THE HONORABLE AMIR H. ALI
                              UNITED STATES DISTRICT JUDGE




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